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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION

STATE OF TEXAS,                                    )
GUN OWNERS OF AMERICA, INC.,                       )
GUN OWNERS FOUNDATION, and                         )
BRADY BROWN,                                       )
                                                   )    Case No. 6:23-cv-00013
   Plaintiffs,                                     )
                                                   )
       v.                                          )
                                                   )
BUREAU OF ALCOHOL, TOBACCO,                        )
FIREARMS AND EXPLOSIVES, UNITED                    )
STATES DEPARTMENT OF JUSTICE, and                  )
STEVEN M. DETTELBACH in his official               )
capacity AS THE DIRECTOR OF ATF,                   )
                                                   )
   Defendants.                                     )

     PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO EXCEED THE
           WORD LIMIT FOR THEIR REPLY IN SUPPORT OF
           THEIR MOTION FOR PRELIMINARY INJUNCTION

       Plaintiffs respectfully request permission for their Reply in Support of their Motion

for Preliminary Injunction to exceed this Court’s word limit by up to 8,000 words, for a

total word count of up to 10,000 words. The motion raises complex and previously

unexplored issues in a case of national importance, and Defendants’ response was over

19,000 words long. Plaintiffs require these extra words to adequately present these issues

to the Court. They seek this enlargement for good cause and in the interest of justice, and

no party will be prejudiced if the word limit is increased. Defendants do not oppose the

request.



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Respectfully submitted.
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                                             **Counsel for Plaintiff State of Texas




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                            CERTIFICATE OF SERVICE

      I certify that on March 31, 2023, I filed this motion through the Court’s CM/ECF

system, which automatically served it upon all counsel of record.

                                                       /s/ Charles K. Eldred



                         CERTIFICATE OF CONFERENCE

      I certify that on March 30, 2023, I conferred with Defendants’ counsel Faith E.

Lowry, who informed me that this motion is unopposed.

                                                       /s/ Charles K. Eldred




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